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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                 UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District of California

                 United States of America                         )
                            v.                                    )
                                                                  )   Case No: 2:03CR00363-01
                    ANTONIO STARKS                                )   USM No: 14631-097
Date of Previous Judgment: 03/23/2005                             )   David M. Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Applicable)                 )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of U the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
       ’ DENIED. U GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 151        months is reduced to     *121 months            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    31            Amended Offense Level:                                               29
Criminal History Category: IV            Criminal History Category:                                           IV

Previous Guideline Range:          151      to 188      months        Amended Guideline Range:            121      to 151 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
U The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):


III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 3/23/2005                 shall remain in effect.
IT IS SO ORDERED.

       Order Date:        July 15, 2008

       Effective Date:
                          (If different from order date)
